                                Case 21-30366-KKS                     Doc 10          Filed 06/06/21              Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Northern District of Florida
In re:                                                                                                                 Case No. 21-30366-KKS
Brian Randolph Dickens                                                                                                 Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 1129-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 04, 2021                                               Form ID: b309a                                                            Total Noticed: 21
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 06, 2021:
Recip ID                   Recipient Name and Address
db                     +   Brian Randolph Dickens, 5893 Douglas Ferry Rd., Caryville, FL 32427-2347
tr                     +   Karin A. Garvin, 1801 W. Garden Street, Pensacola, FL 32502-4417
smg                    +   U.S. Attorney (Pensacola Office), 21 E. Garden Street #400, Pensacola, FL 32502-5675
smg                    +   U.S. Attorney (Tallahassee Office), 111 N. Adams Street, Fourth Floor, Tallahassee, FL 32301-7736
2404131                    BB&T, 114400 PANAMA CITY BEACH PKWY, PANAMA CITY BEACH, FL 32407
2404136                +   EQUIFAX (DISPUTES), PO BOX 740256, ATLANTA, GA 30374-0256
2404137                +   EXPERIAN, 475 ANTON RD, COSTA MESA, CA 92626-7037
2404138                +   HRRG, P.O. BOX 8486, CORAL SPRINGS, FL 33075-8486
2404140                +   SEQUIUM ASSET SOLUTION/AT&T, 1130 N CHASE PKWY SE STE 150, MARIETTA, GA 30067-6429
2404141                +   TRANSUNION (DISPUTES), P.O. BOX 900, WOODLYN, PA 19094-0900

TOTAL: 10

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: landj@4-debtor.com
                                                                                        Jun 05 2021 01:04:00      Martin S. Lewis, Lewis & Jurnovoy, P.A., 1100
                                                                                                                  North Palafox St., Pensacola, FL 32501
smg                        EDI: FLDEPREV.COM
                                                                                        Jun 05 2021 02:48:00      Florida Dept. of Labor/Employment Security, c/o
                                                                                                                  Florida Dept. of Revenue, P.O. Box 6668,
                                                                                                                  Tallahassee, FL 32314-6668
smg                        EDI: FLDEPREV.COM
                                                                                        Jun 05 2021 02:48:00      Florida Dept. of Revenue, Bankruptcy Unit, P.O.
                                                                                                                  Box 6668, Tallahassee, FL 32314-6668
ust                    + Email/Text: ustpregion21.TL.ecf@usdoj.gov
                                                                                        Jun 05 2021 01:04:00      United States Trustee, 110 E. Park Avenue, Suite
                                                                                                                  128, Tallahassee, FL 32301-7728
2404130                    EDI: BANKAMER.COM
                                                                                        Jun 05 2021 02:48:00      BANK OF AMERICA, ATTN: BANKRUPTCY
                                                                                                                  DEPARTMENT, P.O. BOX 982238, EL PASO,
                                                                                                                  TX 79998
2404133                    Email/Text: bankruptcy@bbandt.com
                                                                                        Jun 05 2021 01:04:00      BB&T BANK, P.O. BOX 2306, WILSON, NC
                                                                                                                  27894
2404132                + Email/Text: bankruptcy@bbandt.com
                                                                                        Jun 05 2021 01:04:00      BB&T, ATTN: BANKRUPTCY DEPT, P.O.
                                                                                                                  BOX 580302, CHARLOTTE, NC 28258-0302
2404134                + Email/Text: bankruptcy.notifications@fisglobal.com
                                                                                        Jun 05 2021 01:04:00      CHEX SYSTEMS, ATTN: CUSTOMERS
                                                                                                                  RELATIONS, 7805 HUDSON RD., STE 100,
                                                                                                                  SAINT PAUL, MN 55125-1703
2404135                + EDI: DISCOVER.COM
                                                                                        Jun 05 2021 02:48:00      DISCOVER FINANCIAL SERVICES, ATTN:
                                                                                                                  BANKRUPTCY, PO BOX 3025, NEW
                                                                                                                  ALBANY, OH 43054-3025
2404139                    Email/Text: camanagement@mtb.com
                                                                                        Jun 05 2021 01:04:00      M&T Bank, P.O. Box 64679, BALTIMORE, MD
                                                                                                                  21264
2404142                + EDI: WFFC.COM
                                                                                        Jun 05 2021 02:48:00      WELLS FARGO, ATTN: BANKRUPTCY
                                                                                                                  DEPARTMENT, 1 HOME CAMPUS, DES
                                                                                                                  MOINES, IA 50328-0001
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District/off: 1129-3                                              User: admin                                                             Page 2 of 2
Date Rcvd: Jun 04, 2021                                           Form ID: b309a                                                        Total Noticed: 21
TOTAL: 11


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 06, 2021                                        Signature:           /s/Joseph Speetjens
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Information to identify the case:
Debtor 1              Brian Randolph Dickens                                             Social Security number or ITIN       xxx−xx−3586
                      First Name   Middle Name    Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                 Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                         EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Northern District of Florida
                                                                                         Date case filed for chapter 7 6/3/21
Case number:          21−30366−KKS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully. To protect your rights, consult an attorney.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or through PACER
(Public Access to Court Electronic Records) at https://pacer.uscourts.gov. Anyone can register for the Electronic Bankruptcy
Noticing program at https://bankruptcynotices.uscourts.gov/ to quickly receive court−issued notices and orders by email. This
program is FREE.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Brian Randolph Dickens

2.      All other names used in the aka Brian R. Dickens
        last 8 years

3.      Address                                  5893 Douglas Ferry Rd.
                                                 Caryville, FL 32427

4.     Debtor's attorney                     Martin S. Lewis                                          Contact phone 850 / 432−9110
       Name and address                      Lewis & Jurnovoy, P.A.
                                             1100 North Palafox St.                                   Email: landj@4−debtor.com
                                             Pensacola, FL 32501

5.     Bankruptcy trustee                    Karin A. Garvin                                          Contact phone 850−437−5577
       Name and address                      1801 W. Garden Street
                                             Pensacola, FL 32502                                      Email: trustee@kgarvinlaw.com
                                                                                                              For more information, see page 2 >



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Debtor Brian Randolph Dickens                                                                                                 Case number 21−30366−KKS


6. Bankruptcy clerk's office                      110 E. Park Ave., Ste. 100                                           Hours open 9:00am − 4:00pm
                                                  Tallahassee, FL 32301
    Documents in this case may be filed at this                                                                        Contact phone 1−866−639−4615
    address. You may inspect all records filed
    in this case at this office or online at
    www.pacer.gov.                                                                                                     Date: 6/4/21


7. Meeting of creditors                           July 15, 2021 at 11:30 AM, CT                                        Location:

    Debtors must attend the meeting to be         The meeting may be continued or adjourned to a                       Meeting will be telephonic. Dial
    questioned under oath. In a joint case,       later date. If so, the date will be on the court                     (877), 518−3229 and enter
    both spouses must attend. Creditors may
    attend, but are not required to do so.        docket.                                                              2832468, when prompted for
                                                                                                                       participation code.
                                                      *** Valid photo identification and proof of Social
                                                                 Security Number required ***


8. Presumption of abuse                           The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                          Filing deadline:
                                               to challenge whether certain debts are                                  9/13/21
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                  You must file a complaint:

                                                           • if you assert that the debtor is not entitled to
                                                             receive a discharge of any debts under any of
                                                             the subdivisions of 11 U.S.C. § 727(a)(2) through
                                                             (7), or

                                                           • if you want to have a debt excepted from
                                                             discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                  You must file a motion:

                                                           • if you assert that the discharge should be denied
                                                             under § 727(a)(8) or (9).


                                                  Deadline to object to exemptions:                                    Filing deadline: 30 days after the
                                                  The law permits debtors to keep certain property as exempt. If       conclusion of the meeting of creditors
                                                  you believe that the law does not authorize an exemption claimed,
                                                  you may file an objection.


10. Proof of claim                                No property appears to be available to pay creditors. Therefore, please do not file a
                                                  proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless    will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.                deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                               The law allows debtors to keep certain property as exempt. Fully exempt property will
                                                  not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                                  exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                                  https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption
                                                  that the debtors claim, you may file an objection. The bankruptcy clerk's office must
                                                  receive the objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                     page 2
